Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 1 of 6. PageID #: 1410




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


PAUL SAUMER, et al., individually and on )             CASE NO. 1:15 CV 954
behalf of others similarly situated,     )
                                         )
              Plaintiffs,                )             JUDGE DAN AARON POLSTER
                                         )
        vs.                              )
                                         )             OPINION AND ORDER
CLIFFS NATURAL RESOURCES INC.,           )
et al.,                                  )
                                         )
              Defendants.                )

          This case is before the Court pursuant to Plaintiffs’ Motion for Reconsideration of the

Court’s April 1, 2016 Order and Opinion and Request for Limited Discovery. (Doc #: 46,

(“Motion”)). Having reviewed the Motion, the Opposition brief (Doc #: 49), the Reply brief

(Doc #: 50), the cited cases and the record, the Court DENIES the Motion for the reasons to

follow.

                                                  I.

          A motion for reconsideration may be granted only if there is a clear error of law, newly

discovered evidence, an intervening change in controlling law, or to prevent a manifest injustice.

Gencorp, Inc. v. Am. Int’l Underwriters, 178 F.3d 804, 834 (6th Cir. 1999) (citations omitted);

Westerfield v. U.S., 366 Fed.Appx.614, 619 (6th Cir. 2010) (citing Fed. R. Civ. P. 59(e))

                                  A.    Public Information Claim

          In the April 1, 2016 Order and Opinion, the Court explained, citing Fifth Third Bancorp

v. Dudenhoeffer, 134 S.Ct. 2459 (2014), that ERISA fiduciaries may prudently rely on the

market price of a stock as an unbiased assessment of a security’s value in light of all the public
Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 2 of 6. PageID #: 1411



information and that, absent special circumstances affecting the reliability of the market price, a

claim for breach of the duty to prudently manage the stock based solely on public information

cannot stand. (Doc #: 44 at 11.) The Court noted that, given the breadth of negative publicity

regarding Cliffs and the mining industry, and the volatility of Cliffs’ stock, Plaintiff had failed to

allege how the market was unable to sufficiently digest this information. (Id. at 11-12.)

Furthermore, the Court held that Dudenhoeffer undermined Plaintiff’s argument that excessive

risk constitutes special circumstances, and the Second Amended Complaint contained no

allegations regarding lack of reasoned decision making processes, failure to investigate, or

negligent behavior. (Id. at 12.)

       Plaintiff argues, as it did in its opposition to the motion to dismiss, that its public-

information claim falls outside the scope of Dudenhoeffer, and that the Court incorrectly relied

on Rinehart v. Lehman Bros. Holdings, Inc., in support. The Court disagrees with this argument

for reasons stated in the Order and Opinion at 11-12. Plaintiff also contends that Rinehart, a

case upon which the Court incorrectly relied, is factually distinguishable from the instant case

due to language in that opinion characterizing the public information surrounding Lehman

Brothers’ collapse as “mixed signals.” Certainly, the volatility of Cliffs stock over many more

years can be characterized as mixed signals. Finally, Plaintiff recommends that the Court follow

Pfeil v. State Street Bank and Trust Co., 806 F.3d 377 (6th Cir. 2015) because Pfeil “suggests

that factors other than “market inefficiency” – such as lack of a reasoned decision making

process – can meet Fifth Third’s special circumstances requirement.” Reply at 17 (citing Pfeil,

806 F.3d at 386) (emphasis added)). Pfeil does not purport to create a failure-to-investigate

exception to Dudenhoeffer. See Pfeil, 806 F.3d at 386 (“We do not now decide whether a


                                                 -2-
Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 3 of 6. PageID #: 1412



fiduciary’s complete failure to investigate a publicly traded investment might constitute a

circumstance sufficiently special for a claim of imprudence to survive a motion to dismiss; the

amount of investigation here takes this case out of that realm.”) Pfeil was decided after

discovery on a motion for summary judgment. It says nothing about the sufficiency of the

allegations in a complaint.

       The Court appreciates that a literal construction of Dudenhoeffer nearly eviscerates any

gains made for employee-plaintiffs by removing the presumption of prudence in favor of

fiduciary-defendants. The standards articulated in Dudenhoeffer make it extremely difficult for a

plaintiff’s prudence claim to survive a motion to dismiss. But the conclusive assertions in the

Second Amended Complaint (“SAC”) are plainly insufficient in light of Twombly and Iqbal.

And the Court, under these circumstances, will not allow limited discovery of the fiduciaries’

meeting minutes to fish for evidence to bolster the allegations in the prudence claim.

                              B.   Non-Public (Inside) Information

       Plaintiff contends that the Court erred when it stated that the SAC failed to allege any

material inside information that would have turned an otherwise acceptable investment into an

imprudent one. According to Plaintiff, the Court should deny the motion to dismiss the inside-

information prudence claim because the undersigned denied a motion to dismiss in The Dep’t of

the Treasury of the State of New Jersey v. Cliffs Natural Resources, Inc., et al. , No. 1:14 cv 103,

slip. op. (N.D. Ohio Nov. 6, 2015) – a shareholders-derivative action (“the New Jersey case”).

However, the instant case involves a different statute, imposing different obligations, with

different standards than those in the New Jersey case.




                                                -3-
Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 4 of 6. PageID #: 1413



       While Plaintiff proposed numerous alternative actions the fiduciaries could have taken

(e.g., converting the Cliffs stock fund to cash, closing Cliffs stock to further contributions), it

failed to sufficiently allege, after filing a second amended complaint, how a prudent fiduciary in

the same position could not have concluded that the alternative action would do more harm than

good. Amgen, Inc. v. Harris, 136 S.Ct. 758, 760 (2016) (citing Dudenhoeffer, 134 S.Ct. at

2463). Moreover, Dudenhoeffer foreclosed as illegal the alternative action of trading the

company’s securities based on inside information. 134 S.Ct. at 2472-73 (citing United States v.

O’Hagan, 521 U.S. 642-651-52 (1997)).

       Plaintiff also argues that the alternative actions Plaintiff proposed in the SAC are now

supported by “new authority”– i.e., amicus curie briefs filed by the Department of Labor and the

Securities and Exchange Commission in a case before the Fifth Circuit Court of Appeals,

Whitley v BP, PLC, No. 15-20282. Amicus briefs are not newly discovered evidence or an

intervening change in controlling law; they are not an exercise of the agencies’ rulemaking

authority; and courts do not defer to agency interpretations of judicial opinions.

       More importantly, however, Plaintiff cannot show that a dismissal of this claim

constitutes manifest injustice. There is a proposed $84 million settlement in the New Jersey case

for shareholders who purchased Cliffs stock after April 2, 2012 through March 26, 2013 and sold

it following seven corrective disclosure dates: April 26, 2012, July 26, 2012, October 25, 2012,

November 19, 2012, November 20, 2012, February 13, 2013, and March 27, 2013. (See Case

No. 1:14 CV 1031, Doc #: 98 at 29 ¶ 55.) The fairness hearing is scheduled on June 30, 2016.

       In the New Jersey case,

       Lead Plaintiff developed a Plan of Allocation in consultation with New Jersey’s
       damages expert with the objective of equitably distributing the Net Settlement

                                                  -4-
Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 5 of 6. PageID #: 1414



       Fund to those Settlement Class Members who suffered economic losses as a result
       of the alleged securities law violations asserted in [the New Jersey complaint].
       New Jersey’s damages expert developed a Plan of Allocation based on an event
       study, which determined how much artificial inflation was in the price of Cliffs
       common stock on each day during the Settlement Class Period as a result of
       Defendants’ alleged materially false and misleading statements and omission, and
       how much the stock price declined as a result of the disclosures that corrected the
       alleged misstatements and omissions. In calculating this estimated artificial
       inflation, the damages expert considered price changes in Cliffs common stock in
       reaction to the alleged corrective disclosures, adjusting for price changes
       attributable to market or industry forces.

(Doc #: 102-1 at 17-18.) Although the class in the New Jersey case is comprised of persons who

purchased Cliffs common stock from March 14, 2012 through March 26, 2013 and were

damaged thereby, only those persons who purchased Cliffs stock after April 2, 2012 (the

beginning of the class period in the instant case) can recover damages. (Id. at 7 n. 2.) Expressly

excluded from the New Jersey class are Defendants in that case (many of whom are defendants

in this case); members of the Immediate Family of each of the Individual Defendants; the

Officers and/or directors of Cliffs during the class period, and any entity in which any Defendant

has or had a controlling interest. (Id.) Both the New Jersey case and the instant case are based

on virtually the same set of facts although they assert very different claims. Since the plaintiffs

in this case are (or were) shareholders of Cliffs stock during the class period in the New Jersey

case, they are entitled to damages to the extent set forth in the settlement of the New Jersey case.

They cannot obtain a double recovery by alleging breach of fiduciary duty claims arising from

the same set of facts and involving the same injuries. See, e.g., Midfield Concession Enter., Inc.

v. Areas USA, Inc., 130 F.Supp.3d 1122 (E.D. Mich. 2015) (a plaintiff cannot receive a double

recovery for the same injury, even where alternate legal theories will support the same finding of

liability”); Hughes v. Patrolmen’s Benevolent Assoc., 850 F.2d 876, 882 (2d Cir. 1988)


                                                 -5-
Case: 1:15-cv-00954-DAP Doc #: 51 Filed: 06/17/16 6 of 6. PageID #: 1415



(describing the problem of double recovery where alternative causes of action arise out of the

same injuries caused by the same conduct). The ability to obtain damages in the New Jersey

case negates any manifest injustice.

         The class period alleged in this case begins on April 2, 2012 but continues to the present

day. The Court notes, in passing, its opinion that employees of Cliffs who continued to invest

their retirement income in the Cliffs stock fund after March 26, 2013 (the last corrective

disclosure established in the New Jersey case) could no longer blame the plan fiduciaries for the

decision to continue investing their income in their employer’s stock.1

                                                         II.

         Based on the foregoing, the Court DENIES Plaintiffs’ Motion for Reconsideration of the

Court’s April 1, 2016 Order and Opinion and Request for Limited Discovery (Doc #: 46).

         IT IS SO ORDERED.



                                                      s/Dan Aaron Polster       6/17/2016
                                                      Dan Aaron Polster
                                                      United States District Judge




         1
           Plaintiff mentions, almost as an afterthought, that the limited discovery on the prudence claim
“would likely shed light on the SAC’s loyalty claim, which the Court dismissed without prejudice, and allow
Plaintiffs to file an amended complaint if they so choose to.” (Motion, at 4 ¶ 7.) That’s it. But, as stated in
the Order and Opinion, “Because Count I is not adequately pled, it cannot form a basis for Plaintiff’s Count II
loyalty claim.” (Doc #: 44, at 15.) Plaintiff simply has failed to adequately allege a loyalty claim.

                                                         -6-
